
After the establishment of the present government of the United States, and the consequent dissolution of the state court of admiralty, the court of appeals, upon the reversal of several of the sentences of the latter court, directed the certificates of reversal to the state district court, for the respective ports where the seizures were made; but the judge of the Suffolk district, refused to execute the order of reversal in the above named causes; and entered his opinion of record in the following words :
‘ ‘The judge of this court conceives he is not authorized, by any law, to take notice of the decrees of the court of appeals, in the cases determined in the late admiralty court, and certified, he supposes, to be made the judgment of this court.
“This court has no jurisdiction'in any admiralty causes, except such as were depending in the admiralty court, when the change in the judiciary took place; and cannot, by any construction founded in reason or law, give the act *establishing district courts, or the one concerning the late admiralty court, a meaning contrary hereto. The judge of this court conceives also, with great deference to the court of appeals, that the reversal of every judgment, or decree, ought to be certified to the court from which the appeal was obtained, and which gave the original judgment, or decree; and that' the want of such a court, occasioned by the above mentioned .change, can,, in no wise justify him in assuming a jurisdiction, or is establishing a precedent, which may be productive of evil in future, although the present case may produce none.”
A certificate of the foregoing opinion of the district court was this day produced in the court of appeals; who, thereupon, entered the following certificate to the said district court:
“On mature consideration, this court is of opinion, that these being cases in which ■the late court of admiralty had jurisdiction by law, at the time of passing the ‘act establishing district courts, and for regulating the general court,’ and which was not taken away by the constitution of the United States, the admiralty jurisdiction, over these causes, was transferred,' by the said recited act, to the district court appointed to be holden at. Suffolk, within which district the seizures were made; and that it pertains to the said court to enter, as their own, the former decrees of this court, and award executions thereon, according to the act for establishing the court of appeals: which is ordered to be certified to the said district court.”
